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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

                                              :
UNITED STATES OF AMERICA                      :
                                              :
      v.                                      : CASE NO. 5:21-CR-67 (MTT)
                                              :
JOSHUA ANDREW SMITH                           :
                                              :
            Defendant                         :
                                              :


                         PRELIMINARY ORDER OF FORFEITURE

           WHEREAS, on January 27, 2022, Defendant, JOSHUA ANDREW SMITH,

  (hereinafter “Smith” or “Defendant”), pled guilty to Count One of the Indictment

  charging him with Possession of an Unregistered Firearm, in violation of Title 18, United

  States Code, Sections 5841, 5861(d), and 5871;

           AND WHEREAS, the Indictment contained a generic Forfeiture Notice, pursuant

  to which the United States sought forfeiture under Title 26, United States Code, Section

  5872, in conjunction with Title 28, United States Code, Section 2461(c), any firearms and

  ammunition involved in the commission of the offense(s);

           AND WHEREAS, in his Plea Agreement, the Defendant agreed to the forfeiture of

  the following property to wit: one (1) black firearm silencer; and one (1) blue firearm

  suppressor (hereinafter collectively referred to as the “subject property”);
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        AND WHEREAS, the Court has determined, based on the evidence already in the

record, that (1) Defendant has an ownership interest in the subject property; (2) that the

property is subject to forfeiture pursuant to 26 U.S.C. § 5872, in conjunction with 28 U.S.C.

§ 2461(c); and (3) that the United States has established the requisite nexus between the

aforesaid offense(s) and the subject property;

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:

       1.     Pursuant to 26 U.S.C. § 5872, 28 U.S.C. § 2461(c), 18 U.S.C. § 3554, and Rule

32.2(b), Federal Rules of Criminal Procedure, the Court finds by a preponderance of the

evidence that the United States has demonstrated the required nexus between the subject

property and the offense(s) of conviction, and the subject property is hereby forfeited to

the United States.

       2.     Upon the entry of this Order, in accordance with FED. R. CRIM. P. 32.2(b)(3),

the Attorney General (or a designee) is authorized to seize the subject property, and to

conduct any discovery that may assist in identifying, locating or disposing of the subject

property, and to commence any applicable proceeding to comply with statutes governing

third-party rights, including giving notice of this Order.

       3.     The United States shall publish notice of the Order and its intent to dispose

of the subject property in such a manner as the United States Attorney General (or his




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designee) may direct. The United States may also, to the extent practicable, provide

written notice to any person known to have an alleged interest in the subject property.

       4.     Any person, other than the above-named Defendant, asserting a legal

interest in the subject property must, within thirty (30) days after receipt of notice, or no

later than sixty (60) days from the first day of publication on the official internet

government forfeiture site, www.forfeiture.gov, whichever is earlier, petition the Court for

a hearing without a jury to adjudicate the validity of his alleged interest in the subject

property, and for an amendment of the Order of Forfeiture, pursuant to 21 U.S.C. ' 853(n),

as incorporated by 28 U.S.C. § 2461(c), through 26 U.S.C. § 5872.

       5.     Pursuant to FED. R. CRIM. P. 32.2(b)(4), this Preliminary Order of

Forfeiture shall become final as to the Defendant at the time of sentencing and shall

be made part of the sentence and included in the judgment. If no third-party files a

timely claim, this Order shall become the Final Order of Forfeiture, as provided by FED.

R. CRIM. P. 32.2(c)(2).

       6.     Any petition filed by a third-party asserting an interest in the subject

property shall be signed by the petitioner under penalty of perjury, and shall set forth the

nature and extent of the petitioner=s right, title or interest in the subject property, the time

and circumstances of the petitioner=s acquisition of the right, title or interest in the subject

property, any additional facts supporting the petitioner=s claim and the relief sought.




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       7.     After the disposition of any motion filed under FED. R. CRIM. P. 32.2(c)(1)(A)

and before a hearing on the petition, discovery may be conducted in accordance with the

Federal Rules of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

       8.     The United States shall have clear title to the subject property following the

Court=s disposition of all third-party interests, or if none, following the expiration of the

period provided in 21 U.S.C. ' 853(n), incorporated by 28 U.S.C. § 2461(c), through 26

U.S.C. § 5872 for the filing of third-party petitions.

       9.     The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to FED. R. CRIM. P. 32.2(e).

       SO ORDERED, this WK day of 0DUFK, 2022.

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                                                   MARC T. TREADWELL, &+,()JUDGE
                                                   UNITED STATES DISTRICT COURT




PREPARED BY:

PETER D. LEARY
UNITED STATES ATTORNEY

/s/ Michael D. Morrison
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